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 5 Jump Trading LLC
 6                               UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF CALIFORNIA
 7                                     SAN JOSE DIVISION
 8
       NICK PATTERSON, Individually and on Behalf of      Case No. 5:22-cv-03600-BLF
 9     All Others Similar Situated
                                                          JOINT STIPULATION AND
10                   Plaintiff,                           [PROPOSED] ORDER REGARDING
                                                          TIME TO RESPOND TO INITIAL
11            vs.                                         COMPLAINT
12    TERRAFORM LABS, PTE. LTD., JUMP                     Hon. Beth Labson Freeman
      CRYPTO, JUMP TRADING LLC, REPUBLIC
13    CAPITAL, REPUBLIC MAXIMAL LLC, TRIBE
      CAPITAL, DEFINANCE CAPITAL/DEFINANCE
14    TECHNOLOGIES OY, GSR/GSR MARKETS
      LIMITED, THREE ARROWS CAPITAL PTE.
15    LTD., NICHOLAS PLATIAS and DO KWON,
16                   Defendants.
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                                  JOINT STIPULATION & [PROPOSED] ORDER
                                      CASE NUMBER: 5:22-CV-03600-BLF
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 1          Defendant Jump Trading LLC (“Jump Trading”) and plaintiff Nick Patterson by and through

 2 their counsel in the above-captioned action, hereby stipulate:
 3          WHEREAS, this Action is governed by the Private Securities Litigation Reform Act (15

 4 U.S.C. § 77z-1 et seq.), which provides that following notice to the proposed class, the court must
 5 rule on the consolidation of any substantially similar actions and appoint a Lead Plaintiff for
 6 prosecution of any consolidated action;
 7          WHEREAS, pursuant to 15 U.S.C. § 77z-1(a)(3)(A)(i)(II), motions for appointment as Lead

 8 Plaintiff in this action are due on August 19, 2022 (“Lead Plaintiff Motions”);
 9          WHEREAS, Jump Trading’s response to the current complaint is due July 14, 2022, before
10 the Lead Plaintiff Motions will be heard;
11          WHEREAS, an Initial Case Management Conference is set for September 29, 2022, at 11
12 a.m. (the “Initial CMC”);
13          WHEREAS, it is anticipated that the Court-appointed Lead Plaintiff(s) will file an amended
14 consolidated complaint, superseding the existing complaint;
15          WHEREAS, the parties to this stipulation have conferred and agreed that requiring a
16 response to the current complaint would necessitate duplicative effort, unnecessary motion practice,
17 and result in a waste of judicial resources;
18          NOW THEREFORE, counsel for Plaintiff and Jump Trading stipulate and agree that:

19          1.      Jump Trading has no obligation to respond to the existing complaint in this action

20 and the deadline by which Jump Trading must answer, move, or otherwise respond to an operative
21 complaint is extended until such time as the parties stipulate or the Court orders;
22          2.      Following this Court’s order on the anticipated Lead Plaintiff Motions, Jump Trading

23 will meet and confer with the Court-appointed Lead Plaintiff(s) regarding the timing for Lead
24 Plaintiff(s) to file an amended complaint and the timing of Jump Trading’s response thereto;
25          3.      Nothing about or related to this stipulation may be used as evidence in support of or

26 against any argument or defense that any party may later make or raise, including arguments in
27 connection with the parties’ claims or defenses.
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                                  JOINT STIPULATION & [PROPOSED] ORDER
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 1          IT IS SO STIPULATED.

 2
 3 Dated:       July 12, 2022

 4 Respectfully submitted,
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 6 KOBRE & KIM LLP                                 SCOTT+SCOTT ATTORNEYS AT LAW LLP

 7 /s/ Daniel A. Zaheer                            /s/ John T. Jasnoch
 8
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                                  JOINT STIPULATION & [PROPOSED] ORDER
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 1                                           [PROPOSED] ORDER

 2       Pursuant to the Stipulation, IT IS SO ORDERED.

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     Dated:           July 18       , 2022
 4                                                 HON. BETH LABSON FREEMAN
 5                                                 United States District Judge

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